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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

CARDELL SANDERS, JR.,

Plaintiff, Counter-Defendant, Case No. 20-cv-13014
vs. Judge: Drain
GENESEE COUNTY, PAUL WALLACE, JAY PARKER, JOE LEE,
JOHN DOE 1, SHANA MCCALLUM, SEAN POOLE, and JOHN DOE
2,

Defendants,
and
GENESEE COUNTY,

Counter-Plaintiff.

ANSWER, COUNTERCLAIM, AND JURY DEMAND

 

CELESTE M. DUNN (P61819) BARNEY R. WHITESMAN (P30526)

Attorney for Plaintiff Attorney for Genesee County Defendants
PO Box 230 1121 S. Grand Traverse

Clarkston, MI, 48347 Flint, MI, 48502

(248) 701-3467 (810) 239-1430

 

Defendants Genesee County, Paul Wallace, Jay Parker, and
Joe Lee [hereinafter “Genesee County Defendants”), by their
attorney, Barney R. Whitesman, say:

1. Genesee County Defendants deny the allegations in

paragraph 1 of the Complaint as to alleged deprivations of Plaintiffs
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Constitutional rights and conversion for reason that said allegations
are untrue.

2. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 2 of the Complaint as to what
Plaintiff is really seeking or as to ownership, being without
sufficient knowledge or information to form a belief as to the truth
thereof. Further, Genesee County Defendants deny that Plaintiff
has standing to seek relief on behalf of “any other dog owner” for
reason that said allegations are untrue.

3. Genesee County Defendants plead no contest that the
Complaint requests preliminary and permanent injunctive relief,
but deny that Plaintiff is entitled thereto for reason that same is
untrue. Further, Genesee County Defendants neither admit nor
deny the remaining allegations set forth in paragraph 3 of the
Complaint as to ownership, being without sufficient knowledge or
information to form a belief as to the truth thereof.

JURISDICTION

4. Genesee County Defendants deny the allegations set

forth in paragraph 4 of the Complaint as to 28 USC 1341 and 28

USC 2201 for reason that same are untrue: Genesee County
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Defendants neither admit nor deny the allegations as to 28 USC
1367, being without sufficient knowledge to form a belief as to the
truth thereof.

VENUE

5. Genesee County Defendants plead no contest to the
allegations set forth in paragraph 5 of the Complaint.

6. Genesee County Defendants deny the allegations set
forth in paragraph 6 of the Complaint for reason that same are
untrue.

7. Genesee County Defendants deny that Defendant
Genesee County is an agency of a political subdivision for reason
that said allegations are untrue; however, Genesee County
Defendants pleads no contest that Defendant Genesee County is a
person for purposes of 42 USC 1983.

8. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 8 of the Complaint as to “person
for purposes of a 42 USC 1983 action”, being without sufficient
knowledge or information to form a belief as to the truth thereof.

9. Genesee County Defendants neither admit nor deny the

allegations set forth in paragraph 9 of the Complaint as to “person
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for purposes of a 42 USC 1983 action”, being without sufficient
knowledge or information to form a belief as to the truth thereof.

10. Genesee County Defendants deny the allegations set
forth in paragraph 10 of the Complaint that Joe Lee is a public
safety officer for reason that said allegations are untrue. Genesee
County Defendants neither admit nor deny the allegations set forth
in paragraph 10 of the Complaint as to “person for purposes of a 42
USC 1983 action”, being without sufficient knowledge or
information to form a belief as to the truth thereof.

11. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 11 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

12. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 12 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

13. Genesee County Defendants neither admit nor deny the

allegations set forth in paragraph 13 of the Complaint, being
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without sufficient knowledge or information to form a belief as to
the truth thereof.

14. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 14 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

COLOR OF STATE LAW

15. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 15 of the Complaint as to the
John Doe Defendants and Defendants McCallum and Poole, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

FACTUAL BACKGROUND

16. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 16 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof, with exception that Genesee County Defendants
deny that the property was maintained as untrue.

17. Genesee County Defendants neither admit nor deny the

allegations set forth in paragraph 17 of the Complaint, being
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without sufficient knowledge or information to form a belief as to
the truth thereof.

18. Genesee County Defendants deny the allegations set
forth in paragraph 18 of the Complaint as to Genesee County
Defendants for reason that same are untrue and an
oversimplification as pled. Genesee County Defendants neither
admit nor deny the allegations as they relate to Defendants
McCallum, Poole, and the John Doe Defendants, being without
sufficient knowledge or information to form a belief as to the truth
thereof.

19. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 19 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

20. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 20 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

21. Genesee County Defendants neither admit nor deny the

allegations set forth in paragraph 21 of the Complaint, being
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without sufficient knowledge or information to form a belief as to
the truth thereof.

22. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 22 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof, except as to the quote, which is denied as
inaccurate.

23. Genesee County Defendants neither admit nor deny the
remaining allegations set forth in paragraph 23 of the Complaint,
being without sufficient knowledge or information to form a belief as
to the truth thereof, except that Genesee County Defendants deny
the allegations of “hit and drugged” as untrue.

24. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 24 of the Complaint as to the
description of papers or what was not produced by co-Defendants,
being without sufficient knowledge or information to form a belief as
to the truth thereof.

25. Genesee County Defendants pleads no contest in part to
the allegations set forth in paragraph 25 of the Complaint, but deny

that same is complete for reason that Defendant Wallace stated that

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the animals could not be released unless authorized by Flint
Township and the Court. Genesee County Defendants neither admit
nor deny the date, being without sufficient knowledge or
information to form a belief as to the truth thereof.

26. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 26 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

27. Genesee County Defendants deny the allegations set
forth in paragraph 27 of the Complaint in the manner pled. Plaintiff
was again informed as set forth in paragraph 25 above. Plaintiff was
belligerent and refused to leave until he was advised that the police
were being called. Plaintiff was not “forced” to leave by the Genesee
County Defendants, who requested that Plaintiff leave because he
was creating a disturbance. Defendants neither admit nor deny the
date, being without sufficient knowledge or information to form a
belief as to the truth thereof.

[There is no 28 or 29.]

30. Genesee County Defendants neither admit nor deny the

allegations set forth in paragraph 30 of the Complaint, being
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without sufficient knowledge or information to form a belief as to
the truth thereof. Genesee County Defendants plead no contest that
one dog was humanely euthanized because it was so ill with
heartworms as a result of Plaintiffs neglect/abuse.

31. Genesee County Defendants plead no contest that the
dogs have not been released to Plaintiff.

32. Genesee County Defendants object to paragraph 32 of
the Complaint for reason that same violates FR Civ P 8(a)(1). A
pleading is not a brief. The paragraph should be stricken. FR Civ P
12(f). Further, Genesee County Defendants deny that Plaintiff has
quoted the statute in its entirety.

COUNT I

33. Genesee County Defendants hereby incorporate by
reference paragraphs 1-32 above as if set forth fully herein.

34. Genesee County Defendants object to paragraph 34 of
the Complaint for reason that same violates FR Civ P 8(a). The
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 34 of the Complaint as to them,
being without sufficient knowledge or information to form a belief as

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to the truth thereof. Genesee County Defendants deny violation of
the Fourth Amendment as untrue. The case cited by Plaintiff is
inapposite.

35. Genesee County Defendants object to paragraph 35 of
the Complaint for reason that same violates FR Civ P 8(a). The
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 35 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof. Genesee County Defendants deny violating the
Fourth Amendment as untrue. Cases cited by Plaintiff are
distinguishable and inapposite. There is a world of difference
between animals injured or seized in the process of executing a
warrant in criminal cases, and the case at bar wherein neglected
and abused animals were rescued. Smith is unpublished and not
precedent. The Smith dissent notes that “there is not a lot of law
about the Fourth Amendment and dogs”. Smith at 698.

36. Genesee County Defendants object to paragraph 36 of
the Complaint for reason that same violates FR Civ P 8(a). A

Complaint is not a brief. The paragraph should be stricken. FR Civ

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P 12(f). Genesee County Defendants neither admit nor deny the
remaining allageiiens set forth in paragraph 36 of the Complaint as
to them, being without sufficient knowledge or information to form
a belief as to the truth thereof. The cases cited by Plaintiff are
inapposite. There is a world of difference between animals seized or
injured during execution of a warrant and the rescue of neglected or
abused animals as in the case at bar.

37. Genesee County Defendants object to paragraph 37 of
the Complaint for reason that same violates FR Civ P 8(a). A
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the
allegations, being without sufficient knowledge or information to
form a belief as to the truth thereof, and deny the application of the
inapposite cases cited as untrue.

38. Genesee County Defendants object to paragraph 38 of
the Complaint for reason that same violates FR Civ P 8(a). A
Complaint is not a brief. The paragraph should be stricken, FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 38 of the Complaint, being

without sufficient knowledge or information to form a belief as to

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the truth thereof. The case cited by Plaintiff is inapposite.
Defendants deny violating the Fourth Amendment or that their
conduct was unreasonable for reason that same is untrue.

39. Genesee County Defendants object to paragraph 39 of
the Complaint for reason that same violates FR Civ P 8(a). A
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the
remaining allegations set forth in paragraph 39 of the Complaint as
to them, being without sufficient knowledge or information to form
a belief as to the truth thereof. The case cited by Plaintiff is
inapposite.

40. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 40 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof, except that Genesee County Defendants deny the
allegations as to Plaintiffs Fourth Amendment “interests” as
untrue.

41. Genesee County Defendants deny the allegations set
forth in paragraph 41 of the Complaint for reason that same are
untrue.

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42. Genesee County Defendants deny the allegations set
forth in paragraph 42 of the Complaint for reason that same are
untrue. Plaintiffs actions or inaction resulted in the euthanization
of the dog. Defendants neither admit nor deny Plaintiffs allegations
as to ownership and name of the dog, being without sufficient
knowledge or information to form a belief as to the truth thereof.

43. Genesee County Defendants neither admit nor deny the
allegations in paragraph 43 of the Complaint, being without
sufficient knowledge or information to form a belief as to the truth
thereof, except that Genesee County Defendants plead no contest
that Genesee County has instituted civil due process forfeiture and
claim and delivery actions as a result of Plaintiffs neglect/abuse.

44. Genesee County Defendants deny the allegations set
forth in paragraph 44 of the Complaint for reason that same are
untrue.

45. Genesee County Defendants deny the allegations set
forth in paragraph 45 of the Complaint for reason that same are
untrue.

46. Genesee County Defendants deny the allegations set

forth in paragraph 46 of the Complaint for reason that same are

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untrue, except that Genesee County Defendants neither admit nor
deny the allegations of ownership, being without sufficient
knowledge or information to form a belief as to the truth thereof.

47, Genesee County Defendants object to paragraph 47 of
the Complaint for reason that same violates FR Civ P 8(a). A
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 47 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof. The case cited by Plaintiff is inapposite. This
Plaintiff, in light of his neglect/abuse, had no right to possess the
dogs.

48. Genesee County Defendants deny the allegations set
forth in paragraph 48 of the Complaint for reason that same are
untrue, except that Genesee County Defendants neither admit nor
deny the allegations of ownership, being without sufficient
knowledge or information to form a belief as to the truth thereof.

The cases cited by Plaintiff are inapposite.

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COMPENSATORY DAMAGES

49. Genesee County Defendants deny the allegations set
forth in paragraph 49 of the Complaint for reason that same are
untrue.

PUNITIVE DAMAGES

50. Genesee County Defendants deny the allegations set
forth in paragraph 50 of the Complaint for reason that same are
untrue.

31. Genesee County Defendants deny the allegations set
forth in paragraph 51 of the Complaint for reason that same are
untrue.

ATTORNEY FEES

52. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 52 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

COUNT II
03. Genesee County Defendants hereby incorporate by

reference paragraphs 1-52 above as if set forth fully herein.

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54. Genesee County Defendants object to paragraph 54 of
the Complaint for reason that same violates FR Civ P 8(a). A
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants deny that Plaintiff has quoted
the entirety of the Fourteenth Amendment for reason that same is
incomplete.

95. Genesee County Defendants object to paragraph 55 of
the Complaint for reason that same violates FR Civ P 8(a). A
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the
remaining allegations set forth in paragraph 55 of the Complaint,
being without sufficient knowledge or information to form a belief as
to the truth thereof; and deny the application to Genesee County
Defendants for reason that same are inapplicable. Moreover,
adequate procedural rights were and are afforded.

56. Genesee County Defendants object to paragraph 56 of
the Complaint for reason that same violates FR Civ P S(a). A
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the

allegations set forth in paragraph 56 of the Complaint, being

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without sufficient knowledge or information to form a belief as to
the truth thereof; and deny the application to Genesee County
Defendants for reason that same are inapplicable.

597. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 57 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof, and deny unlawful conduct as untrue.

58. Genesee County Defendants deny the allegations set
forth in paragraph 58 of the Complaint for reason that same are
untrue.

59. Genesee County Defendants deny the allegations set
forth in paragraph 59 of the Complaint for reason that same are
untrue.

COMPENSATORY DAMAGES
60. Genesee County Defendants deny the allegations set

forth in paragraph 60 of the Complaint for reason that same are

untrue.

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PUNITIVE DAMAGES

61. Genesee County Defendants deny the allegations set
forth in paragraph 61 of the Complaint for reason that same are
untrue.

62. Genesee County Defendants deny the allegations set
forth in paragraph 62 of the Complaint for reason that same are
untrue.

ATTORNEY FEES

63. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 63 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

COUNT III

64. Genesee County Defendants incorporate by reference
paragraph 1-63 above as if set forth fully herein.

65. Genesee County Defendants object to paragraph 65 of
the Complaint for reason that same violates FR Civ P 8(a). A
Complaint is not a brief. The paragraph should be stricken. FR Civ

P 12(f). Genesee County Defendants deny that Plaintiff has quoted

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the Fourteenth Amendment in its entirety for reason that same is
not complete.

66. Genesee County Defendants object to paragraph 66 of
the Complaint for reason that same violates FR Civ P 8(a). The
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 66 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

67. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 67 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof.

68. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 68 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereto. Genesee County Defendants deny that their
actions resulted in seizure of the dogs. Rather, Plaintiffs

neglect/abuse of the dogs resulted in their rescue.

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69. Genesee County Defendants deny the allegations set
forth in paragraph 69 of the Complaint for reason that same are
untrue.

70. Genesee County Defendants deny the allegations set
forth in paragraph 70 of the Complaint for reason that same are
untrue.

71. Genesee County Defendants deny the allegations set
forth in paragraph 71 of the Complaint for reason that same are
untrue.

COMPENSATORY DAMAGES

72. Genesee County Defendants deny the allegations set
forth in paragraph 72 of the Complaint for reason that same are
untrue.

PUNITIVE DAMAGES

73. Genesee County Defendants deny the allegations set
forth in paragraph 73 of the Complaint for reason that same are
untrue.

74. Genesee County Defendants deny the allegations set
forth in paragraph 74 of the Complaint for reason that same are

untrue.

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ATTORNEY FEES

75. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 75 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereto.

COUNT IV

76. Genesee County Defendants incorporate by reference
paragraphs 1-75 above as if set forth fully herein.

77. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 77 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof. Genesee County Defendants plead no contest that
forfeiture proceedings against Plaintiff have been initiated as a
result of Plaintiffs neglect/abuse.

78. Genesee County Defendants deny the allegations set
forth in paragraph 78 of the Complaint for reason that same are
untrue.

79. Genesee County Defendants deny the allegations set
forth in paragraph 79 of the Complaint for reason that same are
untrue.

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80. Genesee County Defendants deny the allegations set
forth in paragraph 80 of the Complaint for reason that same are
untrue.

COMPENSATORY DAMAGES

81. Genesee County Defendants deny the allegations set
forth in paragraph 81 of the Complaint for reason that same are
untrue.

PUNITIVE DAMAGES

82. Genesee County Defendants deny the allegations set
forth in paragraph 82 of the Complaint for reason that same are
untrue.

83. Genesee County Defendants deny the allegations set
forth in paragraph 83 of the Complaint for reason that same are
untrue.

ATTORNEY FEES

84. Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 84 of the Complaint, being
without sufficient knowledge or information to form a belief as to

the truth thereto.

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COUNT V

85. Genesee County Defendants incorporate by reference
paragraphs 1-84 above as if set forth fully herein.

86. Genesee County Defendants object to paragraph 86 of
the Complaint for reason that same violates FR Civ P 8(a). The
Complaint is not a brief. The paragraph should be stricken. FR Civ
P 12(f). Genesee County Defendants neither admit nor deny the
allegations set forth in paragraph 86 of the Complaint, being
without sufficient knowledge or information to form a belief as to
the truth thereof. Genesee County Defendants deny the application
of the inapposite cases to them as untrue.

87. Genesee County Defendants deny the allegations set
forth in paragraph 87 of the Complaint for reason that same are
untrue.

AFFIRMATIVE MATTER

A. Plaintiff's neglect/abuse resulted in the dogs located on
property occupied by Plaintiff being rescued by the Genesee County
Defendants.

B. There is a strong governmental interest in being able to

impound animals in imminent danger of harm.

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C. Genesee County Defendants’ actions were authorized by
MCLA 750.50.

D. Genesee County Defendants had probable cause.

E. Genesee County Defendants’ conduct did not violate
clearly established statutory or constitutional rights of which a
reasonable would have known.

F. Defendants’ conduct was objectively reasonable.

G. Plaintiffs claims are barred by qualified immunity.

H. Even objectively reasonable mistakes are protected by
qualified immunity, which also protects the Genesee County
Defendants.

I. Plaintiffs claim of conspiracy/ acting in concert are
barred by the doctrine of intracorporate immunity.

J. Plaintiff fails to state a claim upon which relief can be
granted.

K. The individuals cannot be sued in official capacity, which
claims can only be brought against the corporate entity.

L. Plaintiff cannot recover punitive or exemplary damages
against some or all of the Genesee County Defendants.

M. Governmental immunity bars Plaintiffs state law claims.

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N. 28 USC 2201 is inapplicable. This is not a class-action
and Plaintiff has no standing to make a claim for relief on behalf of
“any other dog owner”.

O. Plaintiff fails to allege that state remedies are inadequate,
barring the procedural due process claim. Plaintiffs state remedies
are adequate.

P. Genesee County Defendants have no unconstitutional
policy.

Q. Plaintiff has adequate remedies at law and is not entitled
to equitable relief.

R. Plaintiff has unclean hands and is otherwise guilty of
misconduct, and is not entitled to equitable relief.

S. Plaintiff's lawyer declined the request of counsel for
Genesee County Defendants for an extension of the time to file an
Answer or responsive Motion, which request was based upon
Defense counsel's vacation schedule. There may be need for
Defendants to amend.

Wherefore, Defendants demand a jury, rely on Plaintiffs jury

demand, and request that the Complaint be dismissed and that

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their actual attorney fees and costs be taxed.

c ~-Respectfully submitted, .

 

Date: |a-de-2o i Am, WttTope. enrmenaen
{ mm-Bé#éney R. Whitesman., sgl

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COUNTERCLAIM

Defendant, Counter-Plaintiff, Genesee County [hereinafter
“Defendant Genesee County”], by its attorney, Barney R.
Whitesman, says:

1. Defendant Genesee County is caring for animals as a
result of the neglect/abuse of Plaintiff, Counter-Defendant, Cardell
Sanders Jr., [hereinafter “Plaintiff’], including Plaintiffs failure to
provide the dogs with adequate food, water, and shelter in extreme
heat, dangerous restraints, exposing dogs to unsafe conditions, and
failure to obtain heartworm treatment/medication.

2. Plaintiffs neglect/abuse necessitated remedial action by

Genesee County Defendants pursuant to MCLA 750.50 and police

directive.

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3. Jurisdiction is premised upon 28 USC 1367(a), as this
Counterclaim is so related to the claims in the principal action that
they form part of the same controversy.

4. Venue is proper pursuant to 28 USC 1391(b).

5. Genesee County has been damaged in the amount of
$8,075 and increasing daily for reason of its care of the dogs. It is
anticipated that Defendant Genesee County’s damages will exceed
$15,000.

COUNT I - NEGLIGENCE PER SE

6. Defendant Genesee County hereby incorporates by
reference paragraphs 1-5 above as if set forth fully herein.

7. Plaintiff Cardell Sanders Jr. is liable to Defendant County
in negligence per se for violation of MCLA 750.50.

8. Plaintiffs negligence per se has proximately caused
Defendant Genesee County damages in the amount of $8,075 and
increasing daily.

COUNT II - QUANTUM MERUIT
9. Defendant Genesee County hereby incorporates by

reference paragraphs 1-8 above as if set forth fully herein.

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10. Defendant Genesee County, by rescuing and providing
the animals in which Plaintiff claims an ownership interest with
food, shelter, and medical care, provided Plaintiff with a valuable
benefit.

11. It is inequitable for Plaintiff to receive that benefit
without compensating Defendant Genesee County.

12. Plaintiff Cardell Sanders Jr. is liable to Defendant
Genesee County in quantum meruit in the amount of $8,075 and
increasing daily.

Wherefore, Defendant, Counter-Plaintiff, Genesee County
demands a trial by jury of all issues so triable and requests that
Judgment be entered in its favor in an amount exceeding $8,075.

_.___Respectfully submitted, - - 4

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Date: /Q- 23-2.

 

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JURY DEMAND
Genesee County Defendants hereby demand a jury trial of all
issues so triable and also rely upon the jury demand filed by

Plaintiff as to the Complaint and Answer. Defendant, Counter-

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Plaintiff Genesee County, also hereby demands a trial by jury of all

issues so triable on the Counterclaim. an aga

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Date: |9-22-de

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